Case 8:19-mc-00005-AG-DFM Document 37 Filed 12/13/18 Page 1 of 3 Page ID #:677



                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA


  In re Banc of California Securities              Case No. 0:18-mc-00076-WMW-KMM
  Litigation
                                                      Report & Recommendation



         Steven Sugarman is a defendant in In re Banc of California Securities Litigation, No.
 17-cv-118-AG-DFM (C.D. Cal.). Mr. Sugarman served subpoenas on non-parties
 Castalian Partners and James Gibson (“Respondents”). After Respondents refused to
 produce documents in response to the subpoenas, Mr. Sugarman filed a motion to
 compel responses with this Court. (ECF No. 1.) Similar discovery disputes are
 underway in other districts, disputes which have arisen in response to very similar
 subpoenas served nationwide. In order to promote efficient resolution of these issues
 and avoid inconsistent rulings within this litigation, the Court recommends that this
 motion be TRANSFERRED to the Central District of California.

 I.     Facts

        A.      Underlying Litigation

         The subpoenas at issue in this district arise out of a securities fraud action.
 Plaintiffs are aggrieved shareholders of Banc of California, who allege that Mr.
 Sugarman and Banc violated federal securities laws by making materially false and
 misleading statements and omissions. Specifically, they allege that Mr. Sugarman had
 ties to Jason Galanis, a convicted securities fraudster, but that Banc’s April 2016 proxy
 intentionally omitted those ties. The plaintiffs also allege that Banc’s stock price fell
 after a blog post was published by the anonymous author “Aurelius,” which exposed
 the connection between Mr. Sugarman and Mr. Galanis.

        B.      The Subpoenas

         Castalian Partners is a small Minnesota investment firm, and Mr. Gibson is its
 principal. (Decl. of James Gibson, ECF No. 25 at ¶ 1.) Both are third parties to this
 litigation. Mr. Sugarman served them with substantially identical subpoenas seeking a
 broad swathe of documents. Respondents objected to the requests as irrelevant,
 overbroad, and unduly burdensome, as well as requiring divulgence of proprietary,
 confidential, and privileged information. (Decl. of Andrew Gray, ECF No. 16, Ex. 9.)

                                               1
Case 8:19-mc-00005-AG-DFM Document 37 Filed 12/13/18 Page 2 of 3 Page ID #:678



 After failing to reach an agreement on responding to the subpoenas, Mr. Sugarman
 filed this motion to compel.

         This is not the only dispute arising out of subpoenas issued in the California
 litigation. In fact, dozens of subpoenas substantially similar to the ones at issue here
 have been issued by many district courts. See In re Banc of California Securities Litigation,
 No. 17-cv-118-AG-DFM, ECF No. 358 (C.D. Cal.) Recently, a motion to compel
 concerning one of those subpoenas was transferred to the Central District of
 California, and the Court understands that motion raises issues virtually
 indistinguishable to those now before this Court.

 II.    Analysis

         When an objection has been made to a subpoena, the issuing party may move
 for an order compelling compliance. Fed. R. Civ. P. 45(d)(2)(B)(i). The scope of
 discovery permitted by a subpoena is the same as permitted by Federal Rule of Civil
 Procedure 26. See 1991 Advisory Committee Notes to Rule 45(a). In certain
 circumstances, motions concerning subpoenas may be transferred by the court where
 compliance is required to the issuing court. Fed. R. Civ. P. 45)(f). “[T]ransfer may be
 warranted to avoid disrupting the issuing court’s management of the underlying
 litigation.” 2013 Advisory Committee Notes to Rule 45(f). The rules contemplate
 transfer only in two limited circumstances: “when the court has already ruled on
 issues presented by the motion or the same issues are likely to arise in discovery in
 many districts.” Id. This Court finds that these circumstances are present here, and
 transfer is warranted.

        Mr. Sugarman has filed discovery demands against seventy-five third party
 witnesses. See In re Banc of California Securities Litigation, No. 17-cv-118-AG-DFM, ECF
 No. 358 (C.D. Cal.) A motion to compel regarding at least one of those subpoenas
 has been transferred to the Central District of California. That subpoena is
 substantially identical to the subpoenas at issue in this case. These circumstances
 guarantee that similar issues are likely to arise in discovery in many districts. And
 because one such dispute has already been transferred to the Central District of
 California, that court will rule on the same issues that are now presented by this
 motion. Therefore, it is clear that failing to transfer this motion may disrupt the
 issuing court’s management of the case.

       Based on the foregoing, and on all of the files, records, and proceedings herein,
 IT IS HEREBY RECOMMENDED THAT this case be transferred to the
 Central District of California.


                                               2
Case 8:19-mc-00005-AG-DFM Document 37 Filed 12/13/18 Page 3 of 3 Page ID #:679




  Date: December 13, 2018                          s/Katherine Menendez
                                                   Katherine Menendez
                                                   United States Magistrate Judge

                                        NOTICE
        Filing Objections: This Report and Recommendation is not an order or
 judgment of the District Court and is therefore not appealable directly to the Eighth
 Circuit Court of Appeals.

         Under Local Rule 72.2(b)(1), “a party may file and serve specific written
 objections to a magistrate judge’s proposed finding and recommendations within 14
 days after being served a copy” of the Report and Recommendation. A party may
 respond to those objections within 14 days after being served a copy of the
 objections. LR 72.2(b)(2). All objections and responses must comply with the word or
 line limits set for in LR 72.2(c).

         Under Advisement Date: This Report and Recommendation will be
 considered under advisement 14 days from the date of its filing. If timely objections
 are filed, this Report and Recommendation will be considered under advisement from
 the earlier of: (1) 14 days after the objections are filed; or (2) from the date a timely
 response is filed.




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